






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-08-00447-CV


____________________



ROSA SABREIROS, Appellant



V.



TAMMY FUGATE, Appellee






On Appeal from the County Court at Law No. 2


Montgomery County, Texas


Trial Cause No. 08-22,531






MEMORANDUM OPINION


	The appellant, Rosa Sabreiros, filed a motion to dismiss this appeal. The motion is
voluntarily made by the appellant prior to any decision of this Court. See Tex. R. App. P.
42.1(a)(1).  No other party filed notice of appeal.  We grant the motion and dismiss the
appeal.  

	APPEAL DISMISSED.

                                                                            __________________________________

                                                                                              CHARLES KREGER

                                                                                                         Justice

Opinion Delivered March 12, 2009

Before McKeithen, C.J., Kreger and Horton, JJ.


